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                      UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF FLORIDA

                             CASE NO: 25-cv-20757-JB

JANE DOE,

      Plaintiff,
v.

STEVEN BONNELL II,

      Defendant,
___________________________/

                               PROTECTIVE ORDER

      THIS CAUSE came before the Court on Plaintiff’s Motion for Permission to

Proceed Under a Pseudonym and for a Protective Order (the “Motion”). ECF No. [5].

Upon due consideration of the Motion, the relevant portions of the record, and for

good cause shown, it is hereby ORDERED AND ADJUDGED that the Motion is

GRANTED.

      1. All documents filed with the Court that contain the name of Plaintiff or

information that identifies Plaintiff or her family members, directly or indirectly,

shall be filed under seal. In all publicly filed documents, Plaintiff shall be identified

only by her pseudonym.

      2. If requested to do so, Plaintiff’s counsel shall disclose the true name of

Plaintiff to counsel for Defendant.

      3. Counsel for Defendant may disclose the identity of Plaintiff to Defendant,

employees of Defendant, and experts retained in this case, but only to the minimum

extent necessary to litigate this action.
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      4. Individuals to whom disclosure of Plaintiff’s identity is made shall not

further disclose that information to any other person without first obtaining

confirmation from Defendant’s counsel that such disclosure is necessary to litigate

this action.

      5. Any person to whom disclosure is made because of this litigation shall first

read this protective order prior to having access to the identity of Plaintiff. Counsel

for Defendant shall ensure that all persons to whom disclosure is made pursuant to

paragraphs 3 and 4 are aware of this protective order.

      6. Under no circumstances shall any person disclose Plaintiff’s name to the

media without the consent of Plaintiff’s counsel.

      7. If any specific issues related to non-disclosure of Plaintiff’s identity arise

during the course of litigation, the parties shall seek to resolve those issues without

court intervention. If the parties cannot agree, they shall seek further clarification

from this Court.

      DONE AND ORDERED in Miami, Florida, this 20th day of February, 2025.


                                        _____________________________________
                                        JACQUELINE BECERRA
                                        UNITED STATES DISTRICT JUDGE
